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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

  Civil Action No. 19-cv-03088-REB-MEH

  FRANCES MCMILLAN,

         Plaintiff,

  v.

  SPECIALIZED LOAN SERVICING, LLC,

         Defendant.


                                          MINUTE ORDER

  Entered by Michael E. Hegarty, United States Magistrate Judge, on December 9, 2019.

          Before the Court is Plaintiff’s Motion to Appear by Telephone at Scheduling Conference
  [filed December 9, 2019; ECF 10]. The Court may strike or deny without prejudice the Plaintiff’s
  motion for failure to comply with D.C. Colo. LCivR 7.1(a); however, because the Court has granted
  permission for attorneys who reside outside of the Denver metropolitan area to appear by telephone
  (Order, ECF 7), the Court will grant the motion. Plaintiff’s counsel may appear at the January 7,
  2020 Scheduling Conference by telephone by calling my chambers at (303) 844-4507 at the
  appointed time.

          Plaintiff is advised that any future filings that fail to comply with Local Rule 7.1(a) or any
  other applicable local or federal rule(s) may be stricken or denied without prejudice without further
  notice.
